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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA

       vs.                         4:11-CR-00163-01-BRW

DEANDRA CORTEZ SMITH


                                           ORDER

       Pending is the Motion to Continue (Doc. No. 107) filed by the Government. After a review

of the Motion, and there being no objection from the defendant, the Court finds that the Motion

should be, GRANTED. The sentencing for Mr. Smith will be removed from the Court’s calendar

for Friday, May 10, 2013 at 10:30 AM, and reset for Friday, May 24, 2013 at 10:00 a.m.

       IT IS SO ORDERED this 9th day of May, 2013.


                                                /s/Billy Roy Wilson
                                        UNITED STATES DISTRICT JUDGE
